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     Attorney(s) for Scanning Technologies Innovations, LLC
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7
                     IN THE UNITED STATES DISTRICT COURT
8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
9
     SCANNING TECHNOLOGIES           §
10   INNOVATIONS, LLC,               §            Case No: 4:22-cv-02644-JST
                                     §
11
          Plaintiff,                 §            PATENT CASE
12                                   §
     vs.                             §
13
                                     §
14   SPARXO, INC.                    §
                                     §            JOINT STIPULATION OF
15
          Defendant.                 §            DISMISSAL
16   ________________________________§
17
           Plaintiff Scanning Technologies Innovations, LLC, and Defendant Sparxo, Inc.,
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     by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
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           1.     All claims asserted by the Plaintiff in this Action are dismissed with
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     prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
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     without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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           2.     Each party shall bear its own costs and attorneys’ fees with respect to the
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     matters dismissed hereby;
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           This Stipulation and Order shall finally resolve the Action between the parties.
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                                 JOINT STIPULATION OF DISMISSAL
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1    Dated: July 13, 2022               Respectfully submitted,
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                                        /s/Stephen M. Lobbin
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16                                      Attorneys for Defendant Sparxo, Inc.
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                              JOINT STIPULATION OF DISMISSAL
